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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )                 4:08CR3148-2
                                            )
              V.                            )
                                            )
LARRY J. LAUTENSCHLAGER,                    )                    ORDER
                                            )
                     Defendant.             )

       Based upon the advice of the Pretrial Services Officer,

       IT IS ORDERED that the motion to amend terms of pretrial release (filing 210) is
granted to the extent that the defendant is permitted to transition from the Summit House to
his own apartment provided, as a condition precedent, that he must pay in full what he owes
the Summit House and that he provide the Pretrial Services Officer with evidence of such
payment.

       DATED this 25th day of June, 2009.

                                          BY THE COURT:

                                          S/Richard G. Kopf
                                          United States District Judge
